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Entity Name: Banyan Tree Management, LLC
  Jurisdiction: GA
          Date: 7/9/2019
Receipt Method: Process Server
 Case Number: 19-C-04673-S3
       Plaintiff: JANE DOE
     Defendant: BANYAN TREE MANAGEMENT, LLC
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